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 1 DANIEL G. BOGDEN
   United States Attorney
 2 Nevada Bar No. 2137
   DANIEL D. HOLLINGSWORTH
 3 Assistant United States Attorney
   Nevada State Bar No. 1925
 4 Lloyd D. George United States Courthouse
   333 Las Vegas Boulevard South, Suite 5000
 5 Las Vegas, Nevada 89101
   Telephone: (702) 388-6336
 6 Facsimile: (702) 388-6787
   E-mail: Daniel.Hollingsworth@usdoj.gov
 7 Counsel for the United States of America

 8

 9                                      UNITED STATES DISTRICT COURT
10                                          DISTRICT OF NEVADA
11 UNITED STATES OF AMERICA,                     )
                                                 )
12                         Plaintiff,            )
                                                 )
13            v.                                 )      2:08-CR-332-JCM-(GWF)
                                                 )
14 DWIGHT RAMON POLLARD,                         )
                                                 )
15                        Defendant.             )
16         THE UNITED STATES OF AMERICA’S UNOPPOSED MOTION TO EXTEND TIME TO
            RESPOND TO DEFENDANT POLLARD’S OBJECTION TO ENTRY OF A CRIMINAL
17                       FORFEITURE MONEY JUDGMENT (ECF No. 473)
                                      (Second Request)
18

19            The United States of America (“United States”), by and through Daniel G. Bogden, United

20 States Attorney for the District of Nevada, and Daniel D. Hollingsworth, Assistant United States

21 Attorney (“AUSA”), respectfully moves this Honorable Court for an Order extending the time for the

22 United States to file a Response to Defendant Dwight Ramon Pollard’s Objection To Entry Of A

23 Criminal Forfeiture Money Judgment (ECF No. 473) pursuant to Fed. R. Crim. P. 45(b)(1) and LCR 45-

24 1. The Response is currently due March 25, 2013. The United States requests an extension of time to

25 April 8, 2013. This is the second request for an extension of time.

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 1          The grounds for extending the time are as follows.

 2          Another forfeiture AUSA has been out of the United States Attorney’s Office and will not return

 3 until April 3, 2013. The AUSA assigned to respond to Pollard’s Objection has attempted to complete the

 4 Response to Pollard’s Objection and has been unable to do both his job and cover the responsibilities of

 5 the other forfeiture AUSA. On March 25, 2013, the AUSA spoke with opposing counsel, Jason F. Carr,

 6 who stated he did not oppose this extension of time and authorized as much time as was needed.

 7          This motion is not submitted solely for the purpose of delay or for any other improper purpose.

 8          This Court should grant an extension of time to April 8, 2013, pursuant to Fed. R. Crim. P.

 9 45(b)(1) and LCR 45-1, for the United States to file a Response to Defendant Pollard’s Objection To

10 Entry Of A Criminal Forfeiture Money Judgment (ECF No. 473).

11          DATED this 25th day of March, 2013.
12                                                        DANIEL G. BOGDEN
                                                          United States Attorney
13

14                                                        /s/DanielDHollingsworth
                                                          DANIEL D. HOLLINGSWORTH
15                                                        Assistant United States Attorney
16

17

18                                                        IT IS SO ORDERED:
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20
                                                          UNITED STATES DISTRICT JUDGE
21
                                                          DATED: March 26, 2013.
22

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 1                                          PROOF OF SERVICE

 2          I, Daniel D. Hollingsworth, certify that the following individuals were served with copies of

 3 THE UNITED STATES OF AMERICA’S UNOPPOSED MOTION TO EXTEND TIME TO

 4 RESPOND TO DEFENDANT POLLARD’S OBJECTION TO ENTRY OF A CRIMINAL

 5 FORFEITURE MONEY JUDGMENT (ECF No. 473) (Second Request) on March 25, 2013, by the

 6 below identified method of service:

 7          CM/ECF

 8          Alina M. Shell
            Federal Public Defender
 9          411 E. Bonneville, Suite 250
            Las Vegas, Nv 89101
10          Email: Alina_Shell@fd.org
            Attorney for Dwight Ramon Pollard
11
            Jason F. Carr
12          Federal Public Defender
            411 E Bonneville, Suite 250
13          Las Vegas, NV 89101
            Email: ECF_Vegas@FD.ORG, jason_carr@fd.org,
14          Attorney for Dwight Ramon Pollard
15

16

17                                                        /s/ Daniel D. Hollingsworth
                                                          DANIEL D. HOLLINGSWORTH
18                                                        Assistant United States Attorney
19

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